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                                                   United States District Court
                                                              Southern District of Florida
                                                                       MIAMI DIVISION

  UNITED STATES OF AMERICA                                                     JUDGMENT IN A CRIMINAL CASE

  v.                                                                           Case Number - 1:99-804-CR-ALTONAGA-4

  DIEGO MONTOYA SANCHEZ
                                                                               USM Number: 65198-004

                                                                               Counsel For Defendant: William A. Clay, Esq.
                                                                               Counsel For The United States: Michael S. Davis, Esq.
                                                                               Court Reporter: Barbara Medina
  ___________________________________



  The defendant pled guilty to Counts 1 and 10 of the Fifth Superseding Indictment.
  The defendant is adjudicated guilty of the following offenses:


           TITLE/SECTION                                      NATURE OF
              NUM BER                                          OFFENSE                   OFFENSE ENDED                            COUNT

    21 U.S.C. § 963                                Conspiracy to Import Five or More         April 29, 2004                            1
                                                   Kilograms of Cocaine

    18 U.S.C. § 1503(a)                            Obstruction of Justice                     August 2003                              10

  The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
  Sentencing Reform Act of 1984.

  Remaining Counts are dismissed on the motion of the United States.

  It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
  residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
  If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material changes in economic
  circumstances.

                                                                                         Date of Imposition of Sentence:
                                                                                         October 21, 2009




                                                                                         ________________________________
                                                                                         CECILIA M . ALTONAGA
                                                                                         UNITED STATES DISTRICT JUDGE

                                                                                         October 21, 2009
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  DEFENDANT: DIEGO MONTOYA SANCHEZ
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                                                              IMPRISONMENT
             The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term
  of 540 months. The term consists of 540 months as to each of Counts 1 and 10, with all such terms to be served concurrently with
  each other, and concurrently with the term imposed in Case Number 09-20665-CR-Altonaga. The defendant is to be given credit
  for all time served since his arrest on September 10, 2007.

  The Court makes the following recommendations to the Bureau of Prisons:

               The defendant be designated to a facility located in or near South Florida.

  The defendant is remanded to the custody of the United States Marshal.




                                                                RETURN

  I have executed this judgment as follows:




  Defendant delivered on ____________________ to _________________________________

   at _____________________________________________, with a certified copy of this judgment.


                                                                                      __________________________________
                                                                                           UNITED STATES MARSHAL


                                                                                  By:__________________________________
                                                                                              Deputy U.S. Marshal
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                                                              SUPERVISED RELEASE

           Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years. This term consists
  of 5 years as to each of Counts 1 and 5, to run concurrently with each other, and concurrently with the term imposed in Case No.
  09-20665-CR-Altonaga.

            The defendant must report to the probation office in the district to which the defendant is released within 72 hours of
  release from the custody of the Bureau of Prisons.

               The defendant shall not commit another federal, state or local crime.

           The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
  of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
  two periodic drug tests thereafter, as determined by the court.

               The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

               The defendant shall cooperate in the collection of DNA as directed by the probation officer.


           If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as any additional
  conditions on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION

  1.           the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2.           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
               month;
  3.           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4.           the defendant shall support his or her dependents and meet other family responsibilities;
  5.           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
               reasons;
  6.           the defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
  7.           the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
               substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8.           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9.           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
               unless granted permission to do so by the probation officer;
  10.          the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
               contraband observed in plain view by the probation officer;
  11.          the defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement officer;
  12.          the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
               of the court; and
  13.          as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record
               or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
               compliance with such notification requirement.
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                                                    SPECIAL CONDITIONS OF SUPERVISION

               The defendant shall also comply with the following additional conditions of supervised release:

  Surrendering to Immigration for Removal After Imprisonment - At the completion of the defendant’s term of imprisonment,
  the defendant shall be surrendered to the custody of the U.S. Immigration and Customs Enforcement for removal proceedings
  consistent with the Immigration and Nationality Act. If removed, the defendant shall not reenter the United States without the
  prior written permission of the Undersecretary for Border and Transportation Security. The term of supervised release shall be
  non-reporting while the defendant is residing outside the United States. If the defendant reenters the United States within the term
  of supervised release, the defendant is to report to the nearest U.S. Probation Office within 72 hours of the defendant’s arrival.
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                                                         CRIMINAL MONETARY PENALTIES


         The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule of
  Payments sheet.


                   Total Assessment                                    Total Fine                                     Total Restitution

                           $200.00                                           0                                           $500,000.00




  Restitution with Imprisonment -

             It is further ordered that the defendant shall pay restitution in the amount of $500,000.00. During the period of
  incarceration, payment shall be made as follows: (1) if the defendant earns wages in a Federal Prison Industries (UNICOR) job,
  then the defendant must pay 50% of wages earned toward the financial obligations imposed by this Judgment in a Criminal Case;
  (2) if the defendant does not work in a UNICOR job, then the defendant must pay a minimum of $25.00 per quarter toward the
  financial obligations imposed in this order.

            Upon release of incarceration, the defendant shall pay restitution at the rate of 10% of monthly gross earnings, until such
  time as the court may alter that payment schedule in the interests of justice. The U.S. Bureau of Prisons, U.S. Probation Office
  and U.S. Attorney’s Office shall monitor the payment of restitution and report to the court any material change in the defendant’s
  ability to pay. These payments do not preclude the government from using other assets or income of the defendant to satisfy the
  restitution obligations.

               The defendant shall make restitution (including community restitution) to the following payee(s) in the amount listed
  below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
  specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all non-
  federal victims must be paid before the United States is paid.


                                                                                                                                    Priority Order
                                                                      Total Amount                       Amount of                  or Percentage
                            Name of Payee                                of Loss                    Restitution Ordered              of Payment

    To be provided by the U.S. Probation Office                         $500,000.00                      $500,000.00


  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
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                                                              SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

                A. Lump sum payment of $200.00 due immediately, balance due


  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
  is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

                U.S. CLERK’S OFFICE
                ATTN: FINANCIAL SECTION
                400 NORTH M IAM I AVENUE, ROOM 8N09
                M IAM I, FLORIDA 33128-7716

  The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the U.S.
  Attorney’s Office are responsible for the enforcement of this order.




               Joint and Several

          Restitution is Joint and Several with the Defendant and Co-Defendants in the instant offense, in the amount of
  $500,000.00.


  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5) fine interest, (6) community restitution,(7) penalties, and (8) costs, including cost of prosecution and court costs.
